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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig * MDL No. 2179

“Deepwater Horizon” in the Gulf * .

of Mexico, on April 20, 2010 = SECTION “J”
Applies to: * JUDGE BARBIER
10-02771 * MAGISTRATE SHUSHAN

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ORDER

Considering the foregoing Motion,

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Motion for
Attorney’s Fees and Costs be granted and that Doucet-Speer, APLC and Leake and Anderson
be granted twenty-five percent (25%) of the total amount of anticipated damages in the
amount of one million two-hundred ten thousand four hundred eighty six dollars and zero
cents ($1,210,486.00) plus expert fees and costs of these proceedings or in the alternative,
an award of attorney’s fees based on quantum meruit basis plus the costs and all other
general and equitable relief.

Signed this day of , 2012 at

DISTRICT JUDGE
